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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

                                    COURT FILE NO.:

  Jonathan Stevens,
        Plaintiff,

  v.

  Edmonds & Logue, PC and
  Credit Bureau of Carbon
  County, Inc. dba
  CollectionCenter, Inc.,
         Defendants.
  ________________________________________________________________________

                      COMPLAINT AND JURY DEMAND
  ________________________________________________________________________

                                  NATURE OF ACTION

        1.     Plaintiff Jonathan Steves (“Plaintiff”) brings this action against Defendants

  Edmonds & Logue, PC (“E&L”) and Credit Bureau of Carbon County, Inc. dba

  CollectionCenter, Inc. (“CBCC”) (collectively, “Defendants”) pursuant to the Fair Debt

  Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                      JURISDICTION, STANDING, AND VENUE

        2.     This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28 U.S.C.

  § 1331.

        3.     Plaintiff has Article III standing to bring this action, as it seeks to redress

  conduct by Defendants that caused Plaintiff to suffer intangible harms, which Congress

  has made legally cognizable in passing the FDCPA. See Spokeo, Inc. v. Robins, 136 S.

  Ct. 1540, 1549, 194 L. Ed. 2d 635 (2016), as revised (May 24, 2016) (Congress is “well

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  positioned to identify intangible harms that meet minimum Article III requirements,” and

  thus “may ‘elevat[e] to the status of legally cognizable injuries concrete, de facto injuries

  that were previously inadequate in law.’” (quoting Lujan v. Defs of Wildlife, 504 U.S.

  555, 578 (1992)); Lane v. Bayview Loan Servicing, LLC, No. 15 C 10446, 2016 WL

  3671467, at *3 (N.D. Ill. July 11, 2016) (“Without the protections of the FDCPA,

  Congress determined, the ‘[e]xisting laws and procedures for redressing these injuries are

  inadequate to protect consumers.’” (quoting 15 U.S.C. § 1692(b)).

           4.   Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where

  the acts and transactions giving rise to Plaintiff’s action occurred in this district and

  where Defendants transact business in this district.

                  THE FAIR DEBT COLLECTION PRACTICES ACT

           5.   Congress enacted the FDCPA to “eliminate abusive debt collection

  practices, to ensure that debt collectors who abstain from such practices are not

  competitively disadvantaged, and to promote consistent state action to protect

  consumers.” Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573,

  577 (2010) (citing 15 U.S.C. § 1692(e)).

           6.   To protect consumers and ensure compliance by debt collectors, “the

  FDCPA is a strict liability statute.” Johnson v. Riddle, 305 F.3d 1107, 1122 (10th Cir.

  2002).

           7.   The FDCPA is a “remedial statute,” and so “should be construed liberally

  in favor of the consumer.” Riddle, 305 F.3d at 1117.



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         8.     “A single violation of the FDCPA is sufficient to state a claim.” Soren v.

  Equable Ascent Fin., LLC, No. 2:12-CV-00038, 2012 WL 2317362, at *2 (D. Utah June

  18, 2012) (citing Taylor v. Perrin, 103 F.3d 1232, 1238 (5th Cir.1997)). “Plaintiffs who

  prove a violation of the FDCPA are entitled to statutory damages irrespective of the

  ability to prove actual damages.” Id.

         9.     Whether a collection letter violates the FDCPA is assessed under the least

  sophisticated consumer standard. “[T]he courts consider ‘how the least sophisticated

  consumer—one not having the astuteness of a ‘Philadelphia lawyer’ or even the

  sophistication of the average, everyday, common consumer—understands the notice he or

  she receives.” Kalebaugh v. Berman & Rabin, P.A., 43 F. Supp. 3d 1215, 1220 (D. Kan.

  2014) (quoting Ferree v. Marianos, 129 F.3d 130, 1997 WL 687693, at *1 (10th Cir.

  Nov. 3, 1997); see also Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993) (“The

  basic purpose of the ‘least-sophisticated consumer’ standard is to ensure that the FDCPA

  protects all consumers, the gullible as well as the shrewd.”).

                                          PARTIES

         10.    Plaintiff is a natural person who at all relevant times resided in the State of

  Colorado, County of El Paso, and City of Colorado Springs.

         11.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

         12.    E&L is an entity who at all relevant times was engaged, by use of the mails

  and telephone, in the business of attempting to collect a “debt” from Plaintiff, as defined

  by 15 U.S.C. § 1692a(5).

         13.    E&L is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

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         14.    CBCC is an entity who acquires debt in default merely for collection

  purposes, and who at all relevant times was engaged, by use of the mails and telephone,

  in the business of directly or indirectly attempting to collect a “debt” from Plaintiff, as

  defined by 15 U.S.C. § 1692a(5).

         15.    CBCC is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                FACTUAL ALLEGATIONS

         16.    Plaintiff is a natural person allegedly obligated to pay a debt.

         17.    Plaintiff’s alleged obligation arises from a transaction in which the money,

  property, insurance, or services that are the subject of the transaction were incurred

  primarily for personal, family, or household purposes—namely, personal medical

  services (the “Debt”).

         18.    E&L uses instrumentalities of interstate commerce or the mails in a

  business the principal purpose of which is the collection of any debts.

         19.    E&L regularly collects or attempts to collect, directly or indirectly, debts

  owed or due, or asserted to be owed or due, another.

         20.    CBCC uses instrumentalities of interstate commerce or the mails in a

  business the principal purpose of which is the collection of any debts.

         21.    CBCC purchases defaulted debts from creditors, which it then, either

  directly or through third parties, seeks to collect from the consumer for its own profit.

         22.    The principal purpose of CBCC’s business is debt collection.

         23.    CBCC has no other substantial business purpose except to purchase debt

  and profit from collected debts.

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         24.    CBCC acquired Plaintiff’s Debt after it was alleged to be in default.

         25.    At all relevant times, E&L acted on behalf of CBCC to collect or attempt to

  collect the Debt from Plaintiff.

         26.    In connection with the collection of the Debt, E&L, itself and on behalf of

  CBCC, sent Plaintiff initial written communication dated June 20, 2018.

         27.    A true and correct copy of the June 20, 2018 letter is attached as Exhibit A.

         28.    The June 20, 2018 letter was E&L’s initial communication with Plaintiff

  with respect to the Debt.

         29.    The June 20, 2018 letter was sent on E&L’s law firm letterhead. Exhibit A.

         30.    The June 20, 2018 letter contained a signature block for attorneys Rocky L.

  Edmonds and Jeffrey M. Logue. Exhibit A.

         31.    The June 20, 2018 letter was signed by Rocky L. Edmonds. Exhibit A.

         32.    The June 20, 2018 letter purported to contain the notices required by 15

  U.S.C. § 1692g(a) on the reverse side of the letter. Exhibit A.

         33.    The June 20, 2018 letter threatened:

         Your FAILURE to pay has forced CollectionCenter, Inc. (“CCI”) to declare
         you in default and authorize this firm to proceed with litigation. If you pay
         $6524.74 or make satisfactory arrangements with our client’s office, we
         will not proceed.

         Your continued failure to pay in full may result in suit being filed against
         you, notwithstanding your rights stated on the back of this notice. If a
         judgment is rendered against you, we may, by law, seize any non-exempt
         assets including wages.

  Exhibit A (emphasis in original).



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         34.    Defendants’ threats of litigation, including sending the June 20, 2018 letter

  on law firm letterhead and signed by an attorney, would cause the least sophisticated

  consumer to overlook the rights provided by 15 U.S.C. § 1692g(a).

         35.    The June 20, 2018 letter creates a false sense of urgency.

         36.    Upon information and belief, Defendants have not filed a lawsuit against

  Plaintiff as of the date of this complaint.

                                      COUNT I
                            VIOLATION OF 15 U.S.C. § 1692g(b)

         37.    Plaintiff repeats and re-alleges each factual allegation contained above.

         38.    A key provision of the FDCPA is § 1692g, which requires a debt collector

  to send, within five days of its initial communication with a consumer, a written notice

  which provides information regarding the debt and informs the consumer of his or her

  right to dispute the validity of the debt, and/or request the name and address of the

  original creditor, within 30 days of receipt of the notice. See 15 U.S.C. § 1692g(a).

         39.    Congress adopted “the debt validation provisions of section 1692g” to

  guarantee that consumers would receive “adequate notice” of their rights under the

  FDCPA. Wilson v. Quadramed Corp., 225 F.3d 350, 354 (3d Cir. 2000) (citing Miller v.

  Payco–General Am. Credits, Inc., 943 F.2d 482, 484 (4th Cir. 1991)).

         40.    This validation requirement is a “significant feature” of the law that aimed

  to “eliminate the recurring problem of debt collectors dunning the wrong person or

  attempting to collect debts which the consumer has already paid.” See Hernandez v.




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  Williams, Zinman & Parham PC, 829 F.3d 1068, 1070 (9th Cir. 2016) (citing S. Rep. No.

  95-382, at 4 (1977)).

         41.    To ensure debt collectors’ notices meaningfully convey consumers’ rights

  under § 1692g, Congress has further declared that “[a]ny collection activities and

  communication during the 30-day period may not overshadow or be inconsistent with the

  disclosure of the consumer’s right to dispute the debt or request the name and address of

  the original creditor.” 15 U.S.C. § 1692g(b); Caprio v. Healthcare Revenue Recovery

  Grp., LLC, 709 F.3d 142, 148-49 (3d Cir. 2013) (“More importantly for present purposes,

  the notice must not be overshadowed or contradicted by accompanying messages from

  the debt collector.”).

         42.    If a consumer requests validation, “the debt collector shall cease collection

  of the debt . . . until the debt collector obtains verification” and mails such verification to

  the consumer. 15 U.S.C. § 1692g(b).

         43.    The notice of a consumer’s rights under § 1692g may be “overshadowed”

  by language within the validation letter itself. See Gostony v. Diem Corp., 320 F. Supp.

  2d 932, 938 (D. Ariz. 2003) (“The juxtaposition of two inconsistent statements’ renders

  the notice invalid under § 1692g.”) (quotations removed).

         44.     “Courts have recognized FDCPA claims where a defendant has provided

  notice that satisfies the letter, but not the spirit, of the FDCPA requirements.” Williams v.

  Edelman, 408 F. Supp. 2d 1261, 1271 (S.D. Fla. 2005) (citing Avila v. Rubin, 84 F.3d

  222, 226 (7th Cir.1996)).



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         45.      E&L violated 15 U.S.C. § 1692g(b) by overshadowing the disclosures

  required pursuant to 15 U.S.C. § 1692g(a) et seq., during the thirty-day dispute period.

         46.      CBCC, by virtue of its status as a “debt collector” under the FDCPA, is

  liable for the conduct of E&L—the debt collector it retained to collect on its behalf.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendants violated 15 U.S.C. § 1692g(b);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                  1692k(a)(2)(A), in the amount of $1,000.00 per Defendant;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                  action pursuant to 15 U.S.C. § 1692k(a)(3);

               e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible

                  by law; and

               f) Awarding such other and further relief as the Court may deem proper.

                                      COUNT II
                            VIOLATION OF 15 U.S.C. § 1692e(10)

         47.      Plaintiff repeats and re-alleges each factual allegation above.

         48.      The FDCPA creates a broad, flexible prohibition against the use of

  misleading, deceptive, or false representations in the collection of debts. See 15 U.S.C. §

  1692e. See Hamilton v. United Healthcare of Louisiana, Inc., 310 F.3d 385, 392 (5th

  Cir. 2002) (citing legislative history reference to the FDCPA’s general prohibitions which




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  “will enable the courts, where appropriate, to proscribe other improper conduct which is

  not specifically addressed”).

         49.      Congress, recognizing that it would be impossible to foresee every type of

  deceptive collection misbehavior, expressly included in the FDCPA a catchall provision,

  prohibiting “[t]he use of any false representation or deceptive means to collect or attempt

  to collect any debt or to obtain information concerning a consumer.” 15 U.S.C. §

  1692e(10).

         50.      “[A]n unsophisticated debtor could be confused by receiving two nearly

  identical letters that, using identical language, state that he or she has thirty days to

  dispute the debt.” Christopher v. RJM Acquisitions LLC, No. CV-13-02274-PHX-JAT,

  2015 WL 437541, at *8 (D. Ariz. Feb. 3, 2015) (finding “that Defendant violated §

  1692e(10) by sending two letters to the same person, each representing that Plaintiff had

  thirty days from receipt of the letter to dispute the debt”).

         51.      E&L violated 15 U.S.C. § 1692e(10) by using false, deceptive, or

  misleading representations or means in connection with the collection of the Debt.

         52.      CBCC, by virtue of its status as a “debt collector” under the FDCPA, is

  liable for the conduct of E&L—the debt collector it retained to collect on its behalf.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                  1692k(a)(2)(A), in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

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               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                  action pursuant to 15 U.S.C. § 1692k(a)(3);

               e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible

                  by law; and

               f) Awarding such other and further relief as the Court may deem proper.

                                        TRIAL BY JURY

         53.      Plaintiff is entitled to and hereby demands a trial by jury.

   Dated: January 14, 2019
                                       Respectfully submitted,

                                       s/ Russell S. Thompson, IV
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